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 Notice of Appeal Criminal                                                                                       Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                                     )
                                                              )
                          vs.                                 )        Criminal No. 21-cr-53 (CJN)
                                                              )
  Edward Jacob Lang                                           )


                                             NOTICE OF APPEAL


Name and address of appellant:                               United States of America




Name and address of appellant’s attorney:                    Elizabeth H. Danello, Assistant US Attorney
                                                             Office of the US Attorney for DC
                                                             601 D Street, NW Room 6.232
                                                             Washington, DC 20253

Offense:   18 USC secs. 111(a)(1)&(b), sec 231 (a)(3), 1512(c)(2), 2, 1752(a)(2), (a)(4), & (b)(1)(A), 40 USC sec. 5104(e)(2)(D)&(F)


Concise statement of judgment or order, giving date, and any sentence:
     Order, entered on June 7, 2022, dismissing Count Nine



Name and institution where now confined, if not on bail: Alexandria, VA Jail


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
June 22, 2022                                                United States of America
 DATE                                                        APPELLANT
                                                             Elizabeth H. Danello
                                                              ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE            ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                                      YES ✔              NO
Has counsel ordered transcripts?                                            YES                NO ✔
Is this appeal pursuant to the 1984 Sentencing Reform Act?                  YES                NO ✔
